Case 11-33448   Doc 41-4   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
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                Exhibit D
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B18J (Official Form 18J) (12/07)

                                   United States Bankruptcy Court
                                        Northern District of Illinois
                                             Case No. 11−33448
                                                 Chapter 7

In re: Debtors (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Steven Lee Sorensen                            Tina L Sorensen
   19808 S. Woodruff Ct.                          19808 S. Woodruff Ct.
   Frankfort, IL 60423−8944                       Frankfort, IL 60423−8944
Social Security / Individual Taxpayer ID No.:
   xxx−xx−6473                                    xxx−xx−2319
Employer Tax ID / Other nos.:



                                   DISCHARGE OF JOINT DEBTORS

      It appearing that the debtors are entitled to a discharge, IT IS ORDERED: The debtors are
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                      FOR THE COURT


Dated: July 31, 2012                                  Kenneth S. Gardner, Clerk
                                                      United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
    Case
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B18J (Official Form 18J) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. A creditor who violates this
order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 11-33448-BWB
Steven Lee Sorensen                                                                     Chapter 7
Tina L Sorensen
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: rgreen                 Page 1 of 3                   Date Rcvd: Jul 31, 2012
                               Form ID: b18                 Total Noticed: 57


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 02, 2012.
db/jdb        #Steven Lee Sorensen,    Tina L Sorensen,    19808 S. Woodruff Ct.,     Frankfort, IL 60423-8944
17674949       ADT Security Services,    P.O. Box 371490,    Pittsburgh, PA 15250-7490
17674952      +Amsurg Surgery Ctr,    998 129th Infantry Dr.,     Joliet, IL 60435-6893
17674954      +Associated Radiologists Of Joliet,     39069 Treasury Ctr,    Chicago, IL 60694-9000
17674955       Associated St. James Radiologists,     PO Box 3463,    Springfield, IL 62708-3463
17674956       Associated Urological Specialists,     PO Box 516,     Bedford Park, IL 60499-0516
17674959      +BMO Harris Bank, N.A.,    P.O. Box 94034,    Palatine, IL 60094-4034
17674958      +BMO Harris Bank, N.A.,    P.O. Box 6201,    Carol Stream, IL 60197-6201
17674957       Bank Of America,    P.O Box 17054,    Dallas, TX 93062-5170
17902459      #CitiFinancial, Inc,    P.O. Box 140489,    Irving, TX 75014-0489
17674963      +Citifinancial,    300 St. Paul PL.,    Baltimore, MD 21202-2120
17674965      +Donald R. Wilson, Jr.,    540 W. Madison St.,     Suite 2500,   Chicago, IL 60661-2555
17674966      +Dr. Michael P. Ryan,    17061 S. Harlem Ave.,     Tinley Park, IL 60477-2739
17674968      +Focus Receivables Mgt,    1130 Northchase Pky,     Suite 150,   Marietta, GA 30067-6429
17674969      +GB/PAYPAL Smart Conn,    P.O. Box 981064,    El Paso,, TX 79998-1064
17674971      +Harris, N.A.,    % Ehrenberg & Egan, Attorneys At Law,     330 N. Wabash Ave. Suite 2905,
                Chicago, IL 60611-7606
17674974      +Keith Schallenkamp,    2-361st TSBn,    P.O. 616,    El Paso, TX 79944-0616
17674975       LCA Collections,    P.O. Box 2240,    Burlington, NC 27216-2240
17674948      +Law Offices of Arthur Wellman,     11980 Duchess Ave,    Mokena, IL 60448-9285
17674976      +Marquette Vision Center,    9612 Willow Lane,     Mokena, IL 60448-9318
17674977      +Medical Business Bureau,    1460 Renaissance Dr.,     Park Ridge,, IL 60068-1349
17674979       Northstar Location Services,    Attn: Fnancial Services Dept,      4285 Genesse St.,
                Cheektowaga, NY 14225-1943
17674980      +O’Malley & Madden, P.C.,    542 S. Dearborn St.,     Suite 660,    Chicago, IL 60605-1558
17674981       Palos Anesthesia Associates,    Dept 4622,    Carol Stream, IL 60122-0001
17674982      +Palos Community Hospital,    % Harris And Harris, Ltd.,     222 Merchandise Mart Plaza, Suite 1900,
                Chicago, IL 60654-1421
17674984    #+Robert J. Fedor,     2001 Crocker Rd. Suite 216,     Cleveland, OH 44145-6968
17674986      +Shirley Schallenkamp,    730 N. Idaho,    P.O. Box 333,    Salem, SD 57058-0333
17674946      +Sorensen Steven Lee,    19808 S Woodruff Ct,    Frankfort, IL 60423-8944
17674947      +Sorensen Tina L,    19808 S Woodruff Ct,    Frankfort, IL 60423-8944
17674987       St James Hospital,    Accts Recovery Bureau, Inc.,     P.O. Box 6768,    Wyomissing,, PA 19610-0768
17674988      +St. James Hospital Corp,    20201 Crawford,    Olympia Fields, IL 60461-1010
17674990      +Target NB,    % Freedman, Anselmo, Lindberg, LLC,     P.O Box 3228,    Naperville, IL 60566-3228
17674991    #+Tina Sorensen,     19808 S. Woodruff Ct.,    Frankfort, IL 60423-8944
17674992      +Transworld Systems, Inc.,    1375 E, Woodfield Rd.,     Suite 110,    Schaumburg, IL 60173-5423

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
17674950     +EDI: ALLIANCEONE.COM Aug 01 2012 00:43:00      Alliance Receivables, Management, INc.,
               4850 Street Rd. , Suite 300,   Trevose,, PA 19053-6643
17674951     +EDI: GMACFS.COM Aug 01 2012 00:43:00      Ally Financial,    200 Renaissance Ctr.,
               Detroit, MI 48243-1300
17934014      EDI: AIS.COM Aug 01 2012 00:43:00      American InfoSource LP as agent for,     Target,
               PO Box 248866,   Oklahoma City, OK 73124-8866
17674953     +EDI: ACCE.COM Aug 01 2012 00:43:00      Asset Acceptance LLC,     PO Box 2036,
               Warren, MI 48090-2036
17830465     +EDI: ACCE.COM Aug 01 2012 00:43:00      Asset Acceptance LLC / Assignee / Citibank,     Po Box 2036,
               Warren MI 48090-2036
17674960      EDI: CAPITALONE.COM Aug 01 2012 00:43:00      Cap One,    P.O. Box 85520,    Richmond, VA 23285
17934264      EDI: CAPITALONE.COM Aug 01 2012 00:43:00      Capital One Bank (USA), N.A.,
               by American InfoSource LP as agent,    PO Box 71083,   Charlotte, NC 28272-1083
17934439     +E-mail/Text: bankruptcy@cavps.com Aug 01 2012 03:26:01       Cavalry Portfolio Services, LLC,
               500 Summit Lake Drive Suite 400,    Valhalla, NY 10595-2322
17674961      EDI: CITICORP.COM Aug 01 2012 00:43:00      Citi Card,    P.O. Box 6077,
               Sioux Falls, SD 57117-6077
17674962     +EDI: CITICORP.COM Aug 01 2012 00:43:00      Citibank Mastercard,    PO Box 6241,
               Sioux Falls, SD 57117-6241
17674964      EDI: CIAC.COM Aug 01 2012 00:43:00      Citifinancial,    P,O.Box 6931.,
               The Lakes, NV 88901-6931
17674967     +EDI: ESCALLATE.COM Aug 01 2012 00:43:00      Escallate LLC,    5200 Stoneham Rd.,
               North Canton, OH 44720-1584
17816516      EDI: BANKAMER2.COM Aug 01 2012 00:43:00      FIA CARD SERVICES, N.A.,     PO Box 15102,
               Wilmington, DE 19886-5102
18050342      EDI: RECOVERYCORP.COM Aug 01 2012 00:43:00      GE Capital Retail Bank,
               c/o Recovery Management Systems Corp,    25 SE 2nd Ave Suite 1120,    Miami FL 33131-1605
17674970      EDI: RMSC.COM Aug 01 2012 00:43:00      GEMB/GE Money Bank Low,    PO Box 103065,
               Roswell, GA 30076
17674973      EDI: IRS.COM Aug 01 2012 00:43:00      Internal Revenue Service,    P.O. Box 9019,
               Holtsville, NY 11742
17674972      EDI: IRS.COM Aug 01 2012 00:43:00      Internal Revenue Service,    POB 7346,
               Philadelphia, PA 19101-7346
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                                       Form ID: b18                       Total Noticed: 57


 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
 (continued)
 18119383     +EDI: MID8.COM Aug 01 2012 00:43:00      Midland Credit Manangement, Inc.,
                8875 Aero Drive, Suite 200,   San Diego CA 92123-2255
 17674978     +EDI: MID8.COM Aug 01 2012 00:43:00      Midland Credit Mgmt,    8875 Aero Dr.,
                San Diego, CA 92123-2255
 17992147     +EDI: RESURGENT.COM Aug 01 2012 00:43:00      PYOD LLC successors and assigns as assignee,
                of Citibank, NA,   c/o Resurgent Capital Services,     PO Box 19008,   Greenville, SC 29602-9008
 17674983     +EDI: WTRRNBANK.COM Aug 01 2012 00:43:00      RNB-FieldS3,    PO Box 9475,
                Minnneapolis, MN 55440-9475
 17674985     +EDI: SEARS.COM Aug 01 2012 00:43:00      Sears Mastercard,    P.O. Box 183082,
                Columbus, OH 43218-3082
 17674989     +EDI: WTRRNBANK.COM Aug 01 2012 00:43:00      Target NB,    PO Box 673,
                Minneapolis,, MN 55440-0673
                                                                                               TOTAL: 23

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
 While the notice was still deliverable, the notice recipient was advised to update its address with the court
 immediately.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 02, 2012                                       Signature:
       Case
       Case11-33448
            11-33448 Doc
                     Doc41-4
                         33 Filed
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                                     05/31/19 Entered
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                              Form ID: b18                Total Noticed: 57


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 31, 2012 at the address(es) listed below:
              Adham Alaily     on behalf of Creditor BMO Harris Bank N.A. f/k/a Harris N.A.
               aalaily@ehrenbergeganlaw.com
              Arthur D Wellman    on behalf of Debtor Steven Sorensen arthur.d.wellman@hotmail.com
              Bradley J Waller    bjwtrustee@ksbwl.com, bwaller@ecf.epiqsystems.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
                                                                                             TOTAL: 4
